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                   EXHIBIT I
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                                                                        Page 1

 1                         UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
 2                                TAMPA DIVISION
 3                                Civil Action No.: 22-CV-01660
 4
      MUTUAL OF OMAHA
 5    MORTGAGE INC.,
 6             Plaintiff,
      v.
 7
      WATERSTONE MORTGAGE
 8    CORPORATION,
 9             Defendant.
      __________________________________/
10
11                                 DEPOSITION OF
12                                  DWAYNE HUTTO
13                           (Volume I, pages 1 - 171)
14    DATE TAKEN:              June 15, 2023
15    TIME:                    9:03 a.m. to 3:57 p.m.
16    PLACE:                   Gunster, Yoakley & Stewart, P.A.
                               401 East Jackson Street
17                             Suite 1500
                               Tampa, Florida 33602
18
      TAKEN BY:                 The Plaintiff
19
      REPORTED BY:              Victoria White
20                              Court Reporter and Notary Public
21
22
23
24
25

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                                                              Page 2                                                                  Page 4
    1 A P P E A R A N C E S:
                                                                         1
    2 ARI KAREN, ESQUIRE
      COURTNEY WALTER, ESQUIRE (Via Zoom)                                2           PROCEEDINGS
    3 MARK CARROL, ESQUIRE                                               3               *****
      OF: MITCHELL SANDLER, LLC
    4      1120 20th Street N.W.                                         4       THE VIDEOGRAPHER: Good morning. We're going on
           Suite 725                                                     5    the record at 9:03 a.m. on June 15, 2023. This is
    5      Washington, D.C. 20036
           202.886.5265                                                  6    media unit one of the video-recorded deposition of
    6      Akaren@mitchellsanders.com                                    7    Dwayne Hutto in the matter of Mutual of Omaha
    7      APPEARING ON BEHALF OF THE PLAINTIFF MUTUAL OF
                                                                         8    Mortgage Incorporated versus Waterstone Mortgage
        OMAHA MORTGAGE, INC.
    8                                                                    9    Corporation, civil action number 22-CV01660. The
      MARIA L. KREITER, ESQUIRE                                         10    location of the deposition is 401 East Jackson
    9 OF: GODFREY & KAHN
           833 East Michigan Street                                     11    Street, Suite 1500, Tampa, Florida 33602.
   10      Suite 1800                                                   12       My name is Rob Williams representing Veritext
           Milwaukee, Wisconsin 53202
   11      414.287.9466                                                 13    and I'm the videographer. The court reporter is
           Mkreiter@gklaw.com                                           14    Victoria White from Veritext. Counsel and all
   12
      STEPHANIE ZIEBELL, ESQUIRE (Via Zoom)
                                                                        15    present, including remotely, will now state their
   13 GENERAL COUNSEL WATERSTONE MORTGAGE CORPORATION                   16    appearances and affiliations for the record beginning
   14      APPEARING ON BEHALF OF THE DEFENDANT WATERSTONE
                                                                        17    with the noticing attorney.
        MORTGAGE CORPORATION
   15                                                                   18       MR. KAREN: Ari Karen with Mitchell Sandler on
   16 ALSO PRESENT:                                                     19    behalf of Mutual of Omaha.
   17 Rob Williams - Videographer
   18                                                                   20       MS. KREITER: Maria Kreiter, Godfrey & Khan, on
   19                                                                   21    behalf of defendant Waterstone.
   20
   21                                                                   22       MS. WALTER: Courtney Walter on behalf of
   22                                                                   23    plaintiff Mutual of Omaha.
   23
                                                                        24       MS. KREITER: And then go ahead, Stephanie.
   24
   25                                                                   25       MS. ZIEBELL: Yeah, Stephanie Ziebell on behalf

                                                              Page 3                                                                  Page 5
    1
                   INDEX OF PROCEEDINGS
                                                                         1      of Waterstone Mortgage. I also have a paralegal
    2                 VOLUME I                                           2      intern here, Mary Curry.
    3 Witness                               Page
      DWAYNE HUTTO                                                       3         THE VIDEOGRAPHER: Okay. Will the court
    4   Direct Examination by Mr. Karen                  5               4      reporter please swear in the witness.
    5
                 PLAINTIFF'S INDEX OF EXHIBITS                           5         THE COURT REPORTER: Raise your right hand,
    6                 VOLUME I
    7 Exhibit         Description             Marked
                                                                         6      please. Do you swear or affirm the testimony you
    8 Exhibit 1       Waterstone Mortgage             9                  7      will give in this matter will be the truth, the whole
                   Corporation Producing Branch
    9              Manager Employment Agreement                          8      truth, and nothing but the truth?
   10 Exhibit 2       E-mail from Michael Smalley        37              9         THE WITNESS: Yes, ma'am.
                   Dated August 14, 2019
   11                                                                   10         THE COURT REPORTER: Thank you.
      Exhibit 3       Dustin Owen E-mail dated          39
   12              October 8, 2021
                                                                        11                 DWAYNE HUTTO,
   13 Exhibit 4       Dustin Owen E-mail dated          45              12 having first been duly sworn, was examined and testified as
                   January 31, 2022
   14                                                                   13 follows:
      Exhibit 5       Waterstone April 20, 2022        61               14               DIRECT EXAMINATION
   15              E-mail
   16 Exhibit 6       February 17, 2022 E-mail        82                15 BY MR. KAREN:
                   (December P&I)
   17
                                                                        16      Q. Good morning, Mr. Hutto, how are you?
      Exhibit 7       Employee Offer Letter         100                 17      A. Good morning. How are you doing?
   18              Date/Resignation Letter Date
                   Document                                             18      Q. I want to go over some rules of deposition just
   19                                                                   19 so we understand how this works. Just really quickly. Have
      Exhibit 8       April 27, 2022 E-mail        107
   20                                                                   20 you ever been deposed before?
      Exhibit 9       January 10, 2022 E-mail from      119
   21              Chris Wolf
                                                                        21      A. No.
   22 Exhibit 10       March 3, 2022 E-mail          146                22      Q. Okay. Have you ever been a witness in a case
   23 Exhibit 11       March 29, 2022 E-mail          151
   24 Exhibit 12       April 8, 2022 E-mail        155                  23 before?
                   (Today's Call)                                       24      A. No --
   25
      Exhibit 13       April 8, 2022 E-mail        165                  25      Q. Okay.

                                                                                                                          2 (Pages 2 - 5)
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                                                                    Page 62                                                                   Page 64
    1      Q. -- fair assumption?                                               1 you coming over with your branch?
    2      A. Um-hmm.                                                           2      A. At all times, no. I was talking to multiple
    3      Q. And on the bottom of this document it's dated                     3 banks, but, yes, I talked to them about it.
    4 April 20, 2022 and it seems to be a -- either it's a                      4      Q. Let me rephrase the question. At all times you
    5 signature or an electronic signature; do you see that?                    5 were talking to Waterstone, the understanding that you
    6      A. Correct.                                                          6 had -- strike that.
    7      Q. And is that yours?                                                7         At all times in your discussions with
    8      A. Yes, it looks like it, correct.                                   8 Waterstone, those discussions surrounded you coming over
    9      Q. Do you know if that's an electronic signature or                  9 with your branch?
   10 if that's a -- it looks to be electronic if you look at the              10      A. Correct.
   11 back.                                                                    11      Q. It was never just you alone?
   12      A. It looks electronic.                                             12      A. Well, no, it was me coming. I hadn't told my
   13      Q. And it's dated April 20th, right?                                13 branch. I was leaving no matter what. Chris Wolf and I had
   14      A. Correct.                                                         14 made the decision that we were leaving. So, you know, I
   15      Q. And is this a document that you did receive,                     15 hadn't made the announcement to my branch yet. You know, I
   16 execute and return to Waterstone?                                        16 did that later.
   17      A. Correct, it looks like it, yes.                                  17      Q. I understand that but I'm only asking in regard
   18      Q. And I wanted to point out to you, again, the                     18 to your conversation with Waterstone, the conversations that
   19 date of this is April 18th on the letter and it indicates                19 you had with Waterstone surrounding you and Chris Wolf
   20 that you were going to receive one, two, three, fourth                   20 leaving with your branch.
   21 paragraph, a $250,000 credit provided to your branch?                    21      A. Leaving with us, too, and my branch because it's
   22      A. Correct. I believe that was for up and running.                  22 in my -- it's in my name.
   23 We had quite a bit of bad months, might I say. So it wasn't              23      Q. Okay. And is it fair to say, sir, that you
   24 money that was coming in my pocket, it was money pretty much             24 consider the branch -- I mean, you've used it a couple of
   25 to keep us afloat through the change.                                    25 times so you just tell me -- but you consider the branch

                                                                    Page 63                                                                   Page 65
    1      Q. And who is us?                                       1 sort of yours?
    2      A. Me, basically, I mean --                             2      A. Not really. I mean, it's -- I have a personal
    3      Q. I mean, well --                                      3 guarantee for the payment on it so I consider it that, you
    4      A. Chris Wolf at the other side, but it's basically     4 know, that I'm responsible for paying the bill. But,
    5 me. Keep water -- myself, my branch.                         5 obviously, you know, the people that work with me, it's
    6      Q. Okay. Let's just clarify because I want to make      6 their decision. So Chris Wolf and I made the decision that
    7 sure we get the right --                                     7 we're going together, but we leave that to them to make the
    8      A. Keep my branch up, up and running through the        8 decision what's best for them and their families.
    9 change.                                                      9      Q. Sure. I understand that. But when you left
   10      Q. Okay. So I'll just restate it to make sure I'm      10 there wasn't going -- when you and Chris Wolf and Chris
   11 clear about it, okay?                                       11 Smith left, there wasn't really going to be a Mutual branch
   12      A. Um-hmm.                                             12 left anyway at any point, right, because you were taking
   13      Q. So what we're talking about is here is $250,000     13 everything; isn't that true?
   14 to bring your branch over and support your branch the first 14      A. No, no, there wasn't going to be. A lot of
   15 couple of months?                                           15 those people that worked remote for Mutual, there's no
   16      A. Correct. We needed it because Mutual didn't pay 16 branches in the states, so they could always stay with
   17 any of our people for seven -- six, seven, eight months, so 17 Mutual if they wanted. I believe a few of them did and they
   18 then I ended up using that money to pay the employees for 18 were fired by Mutual.
   19 the month. I believe we did right at 19 million the month   19      Q. And, again, I just want to go back to the point
   20 before so there was a quite a bit of money owed.            20 that when you were talking to Waterstone, those discussions
   21      Q. And this money, again, went to the branch P&L,      21 pretty early on centered around you bringing your branch
   22 the 250,000?                                                22 over and that's what the 250,000 was for?
   23      A. Correct.                                            23      A. Never found about the 250,000 until the very
   24      Q. Is it fair to say that all times you were           24 end. Never knew anything -- that it was even going to be a
   25 talking to Waterstone, you were talking to Waterstone about 25 thing. But really it was Chris Wolf and I, that was -- we

                                                                                                                            17 (Pages 62 - 65)
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                                                                   Page 90                                                           Page 92
    1 available, right?                                                        1 somebody -- you talk -- you hire loan officers, right?
    2      A. I would not think so.                                            2      A. Correct.
    3      Q. Okay. And if you go two more down there's loan                   3      Q. And if you hired loan officers, how do you
    4 repurchase expense; do you see where it says that?                       4 figure out what you pay a loan officer?
    5      A. Yes, sir.                                                        5      A. It's the same with everyone.
    6      Q. And just tell me again if I have this correctly.                 6      Q. I'm sorry, I don't understand.
    7 Loan repurchase is when somebody who bought a loan from your             7      A. I said, we've had set in the branch the same, we
    8 mortgage company comes back and for some reason and says                 8 don't pay one different than the other, it's a tier system
    9 something was done wrong on this loan and you have to buy it             9 that we have.
   10 back because your company did something wrong in its                    10      Q. Okay. But if you had, for example, you were
   11 origination?                                                            11 hiring for a loan officer and you knew in particular one
   12      A. I'm not as familiar with that as the EPO, to be                 12 officer had lots of loans get repurchased and a lots of
   13 honest.                                                                 13 loans have early -- let me finish my question. If you knew
   14      Q. Okay. Can you tell me -- just from your                         14 that information, that would affect your hiring decision,
   15 knowledge of industry when a repurchase happens? I'm just               15 right?
   16 trying to get some sense of it.                                         16      A. If I knew, but I would never ask. So that's a
   17      A. I don't know. I really don't. The EPO I'm very                  17 question I've never asked.
   18 familiar with; the loan repurchase, it sounds bad, but I                18      Q. I understand. I'm only asking if you had that
   19 don't know a lot about it. I should have kept a better P&L              19 information, that would be very useful for you, wouldn't it?
   20 obviously or looked at it a little more in depth, but, no.              20      A. Yes.
   21      Q. And again, I'm not suggesting this is bad or                    21      Q. Okay. But usually you don't have that
   22 good about your branch, I'm just trying to understand --                22 information, right?
   23      A. Well, I'm being honest. I really don't. The                     23         MS. KREITER: Object to the form.
   24 loan repurchase I'm not sure.                                           24         THE WITNESS: No.
   25      Q. Okay. So you don't -- you don't know -- do you                  25 BY MR. KAREN:
                                                                   Page 91                                                           Page 93
    1 even know what a repurchase is?                               1     Q. But here Waterstone did have that information
    2        A. I know the way it sounds but I don't know what      2 about your branch because you provided it to them, right?
    3 it is.                                                        3     A. Correct, yes, I did provide it to them.
    4        Q. Do your best for me since you have --               4     Q. Now, you mentioned leads.
    5        A. Repurchase I'm assuming that you've got to buy      5     A. Yes, sir.
    6 the loan -- you've got to repurchase the loan back, which to 6      Q. Do you remember mentioning leads?
    7 me would be the same as an early -- an EPO.                   7     A. Yes.
    8        Q. Okay. All right. But, again, that's not going       8     Q. Why did you purchase leads?
    9 to be publicly available number, right?                       9     A. Something that we've always done, that we
   10        A. I wouldn't think so.                               10 purchase leads. We have realtors, a lot of our realtor
   11        Q. And you would agree that in assessing a branch,    11 partners are good friends, we go in to help them out, they
   12 right, as a prospective employer, this kind of information   12 send us business and, you know, it's kind of a weighted
   13 is useful to assess it's profitability, right?               13 system, the way I've set the system up.
   14          MS. KREITER: Object to the form.                    14     Q. But, like, when you get a lead to -- pick like
   15          THE WITNESS: I would think so.                      15 whichever one you're most familiar with.
   16 BY MR. KAREN:                                                16     A. Referral.
   17        Q. Okay. Because obviously if you had a branch        17     Q. It's called referral?
   18 with tons of repurchases and tons of early payoffs and tons 18      A. Yeah, I get a referral from a previous customer.
   19 of tolerance cures, those would all be things that you would 19     Q. Okay. Well, I'm talking about purchase leads.
   20 want to know before you brought them on, right?              20     A. Purchase leads. You get a referral from a, you
   21        A. I would think so. It's -- that wasn't something    21 know, a realtor refers you.
   22 I was thinking about or I've never brought on branches.      22     Q. No, no, no, I'm sorry, let me start this over.
   23 But, me, I would look at the volume and their customer       23 When you buy a lead, because you don't by a referral lead,
   24 service score, if I was in their shoes, but...               24 do you?
   25        Q. But if you were trying to figure out what to pay   25     A. You buy leads for the realtors.

                                                                                                                     24 (Pages 90 - 93)
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